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EXHIBIT 3
Case 2:10-cv-12094-LPZ-MKM ECF No. 21-4, PagelD.189 Filed 03/02/11 Page 2 of 6

November 3, 2003

Mr, and Mrs. Michael Dupree, Sr.
55 Martell
Bloomfield Hills, MI 48304

Dear Mr. and Mrs. Dupree and Michael:

I am sending this Jetter to inform you Micheel did not attend his 1" hour Math class,
3rd hour Literature class, or his 8" hour History class on Friday, October 31,2003.
Michael assured me he would bring in a note from home excusing him. Since I have
not heard from Michael bis absences remain unexcused and he is responsible for 3
class periods of study detention with my office.

1 aim also issuing him a Conduct Warning Level 1, effective until Friday, December 5,
2003 for his unexcused tardies (3 unexcused tardies equal 1 unexcused absence). As
you can see from the enclosed attendance record, he now has 16, Continued
unexcused tardies or absences will result in further disciplinary action.

1 know Micheel is a good student and understands the importance of making it to all of
his classes in a timely manner.

If you have any questions concerning this letter please feel free to contact me,
Sincerely,
1

John J, Winter
Dean of Boys

ce? Sharon Peacock, Dean of Girls
" Arlyce Seibert, adviser

CB000031
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November 18, 2003

Mr. and Mrs, Michae] Dupree, Sr.
55 Martell
Bloomfield Hills, MI 48304

I am writing to inform you that as of today Michael bas ten absences (excused) in his ist hour
Statistics class, and nine (excused) is his 8* hour History class this semester. (Please sce the
enclosed attendance profile.) .

The attendance policy stipulates that students should expect to jose academic credit in any
course once they accrue fifteen or more absences within the semester (see below) *. Notifying
a family when the student has cight absences may seem premature, but such notification is
intended to allow ample time for the family to act on any attendance concess.

As much as possible we want to support Micheel’s attendance in the remainder of the

semester. We know that he is a serious student and that recent absences have been the result

of personal reasons (which may need further clarification should we reach an appeals process). -
If you anticipate that absences ‘will continue and may therefore affect credit in this or any

other course, please do not hesitate te contact the Academic Dean, Ms. Rutzen (248-645-

3605).

If you would like to receive weekly updates of Michael's attendance records, please cal] the
Cranbrook Dean’s Office (248-645-3620). We will notify you if he should reach eight or
mere absences in any of his other classes.

If you have any questions conceming this letter, please feel free to contact me.
Sincerely,
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John J. Winter
Dean of Boys

I
ce: Sharon Peacock, Dean of Girls Laura Wangerin, teacher

{ Arlyce Seibert, adviser

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® The loss of credit policy is described on page 80 in the Commumity Handbook, The statement explains that once
a student has fifteen absences in any course, the fomily is notified of the loss of credit, For esch course in which
the student has fificen absences, the student's grade becomes a WP (wi passing) or a WF (withdrawn
failiire). 11 is the responsibility of the parents and student to petition if they wish to appeal this loss of credit.

CB000030
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December 17, 2003

Mr. and Mrs. Michael Dupree, Sr.
55 Martell
Bloomfield Hills, MI 48304

Dear Mr. and Mrs. Dupree and Michael:

I am writing to let you know Michael has been tardy 8 times to his 2nd period
Philosophy class this semester. School policy counts 3 unexcused tardies as 1
unexcused absence; therefore, he is required to serve 2 class periods of detention with
my office.

Please be aware school policy states any student who accumulates 3 unexcused
absences should expect a meeting with the Dean of Students and/or adviser.

Continued absences will result in further disciplinary action. The insert “Key Points”
from the attendance policy and a copy of his attendance profile are enclosed.

I Know Michael is a good student and understands it is important for him to attend all
of his obligations during the school day.

If you have any questions, please call me.
Sincerely,

Join J. Winter
Dean of Boys

cc: Sharon Peacock, Dean of Girls

' Tom Johnson, teacher
Arlyce Scibert, adviser

cBoo0029
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February 10, 2004

Mr. and Mrs. Michael Dupree, Sr.
55 Martell
Bloomfield Hills, M1 48304

Dear Mr, and Mrs. Dupree and Michael:

As you know Michael has had a schedule change and has missed some of his classes
during the past 2 weeks, After consulting the registrar, Mrs. Lamb, Micheel’s adviser,
Mrs. Seibert, and his Ceramics teacher, Mr. Smith, I have determined Michacl has
accumulated 5 unexcused absences since February 2, 2004. I understand Michael is
still expecting another change to his schedule, but that should not prevent him from
attending all of the classes for which he is presently scheduled.

Tam also issuing him a Conduct Waming Level 1, effective until Friday, March 12,
- 2004. Continued unexcused tardies or absences will result in further disciplinary

If you have any questions conceming this letter please feel free to contact me.

Sincerely,

John J. Winter
Déan of Boys
ce? Sharon Peacock, Dean of Girls
Joe Smith, teacher
_ Arlyce Seibert, adviser

CBo000028
Case 2:10-cv-12094-LPZ-MKM ECF No. 21-4, PagelD.193 Filed 03/02/11 Page 6 of 6

March 17, 2004

Mr. and Mra. Michael Dupree, Sr.
55 Martell
Bloomfield Hilis, MI 48304

Dear Mr. and Mrs, Dupree and Michael:

| am writing to inform you that as of today Michael has eight absences (6 excused) in his ist
hour Statistics class, eight (7 excused) is his 7 hour Literature and Nature class, and eight (6
excused) in his 8" hour Psychology class this semester. (Please see the enclosed attendance

profile.)

The attendance policy stipulates that students: should expect to lose academic credit in any
course once they accrue fifteen or more absences within the semester (see below) *. Notifying
a family when the student has eight absences may scem premature, but such notification is
intended to allow ample time for the family to act on any attendance concerns.

As-much as possible we want to support Michael's attendance in the remainder of the

semester, We know that he is a serious student and that recent absences have been the result
of a suspension, If you anticipate that absences will continue and may therefore affect credit
in this or any other course, please do not hesitate to contact the Academic Dean, Ms. Rutzen

(248-645-3605).

If you would like to receive weekly updates of Michael’s attendance records, please cail the
Cranbrook Dean’s Office (248-645-3620). We will notify you if he should reach eight or
more absences in any of his other classes.

If you have any questions concerning this letter, please feel free to contact me.
Sincerely,
+

John J. Winter
Dean of Boys

1 :
ce; Sharon Peacock, Dean of Girls Amy Caldwell, teacher
( Arlyce Seibert, adviser David Watson, teacher
1 Kathy Riegle, teacher

* The loss of credit policy is described on page 80 in the Community Handbook. The statement explains that once
a swdent has fifteen absences in any course, the family is notified of the loss of credit. For each course in which
the student hes fifteen absences, the student's grade becomes & WP (withdrawn passing) or a WF (withdrawn
failure), It is the responsibility of the parents and student to petition if they wish to appeal this loss of credit.

€B000027
